                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF IOWA
                              WESTERN DIVISION

                                               §
                                               §
HARVEST INTERNATIONAL,
INC.,                                          §        CASE No. 5:21-cv-04018-MAR
                                               §
     Plaintiff,                                §
                                               §          PLAINTIFF’S SECOND
v.                                             §         AMENDED COMPLAINT
                                               §
THE PHOENIX INSURANCE
                                               §
COMPANY aka TRAVELERS,
                                               §
     Defendant.                                §
                                               §



      Harvest International, Inc., Plaintiff, pursuant to the provisions of FRCP 15(a)(1)(B)

hereby submits the following amended Complaint which operates to amend the 1st

Amended Petition removed from the Iowa District Court to this Court.



                              PARTIES and JURISDICTION

      1.        The Plaintiff is an Iowa Corporation with its registered office in Buena Vista

County, Iowa.

      2.        The Defendant is a Delaware Corporation who at material times contracted

with and did business in Buena Vista County, Iowa.




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                                   BACKGROUND FACTS

       3.      The Plaintiff is seeking declaratory judgment from the Court to determine

whether four separate claims for insurance benefits are covered under an insurance policy

issued by the Defendant to the Plaintiff.

       4.      Plaintiff    had      a      policy   with     Defendant,   policy     number

Y-630-7K9333579-PHX-19, which covered Plaintiff from April 2, 2019 to April 2, 2020.

       5.      Plaintiff also had a policy with Defendant which covered Plaintiff from April

2, 2020 to April 2, 2021, as policy number Y-630-6P236457-PHX-20.

       6.      Plaintiff has made demand upon the Defendant for coverage of its defense of

a suit filed by Milford E. Friesen and Arlyn Friesen against Plaintiff Harvest International,

Inc. in the United States District Court for the Southern District of Iowa being known as

Case No. 1-20-cv-14 (hereinafter the “federal petition”).

       7.      Defendant refused said demand for coverage of the claims and for the legal

defense of the action.

       8.      Plaintiff is incurring legal expenses which have exceeded the deductible on the

applicable policy.

       9.      Defendant refused and continues to refuse coverage of the legal defense of

the Plaintiff in the Federal Petition.

       10.     Plaintiff herein in continues to incur legal expenses.

       11.     Time is of the essence for the determination of whether the claims would have

coverage and whether the carrier has a duty to defend the Plaintiff in the action brought in


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the United States District Court by Milford Friesen and Arlyn Friesen.



                    THE PANDEMIC AND VIRUS EXCLUSION

       12.    Section C.1.j.(1) of the Deluxe Property Coverage Form sets out an exclusion

purporting to preclude coverage resulting from:




       13.    The exclusion itself does not mention the word the “pandemic” or reference a

global pandemic.

       14.    In December 2019, the first case of COVID-19 was identified in the Chinese

city of Wuhan.1

       15.    On March 11, 2020, the World Health Organization declared COVID-19 a

pandemic.2

       16.    On March 13, 2020, the United States federal government declared a national

emergency.3

       17.    On March 9, 2020, Illinois Governor JB Pritzker issued a Gubernatorial

Disaster Proclamation regarding the national emergency and the COVID-19 pandemic.4



1 https://www.who.int/news/item/27-04-2020-who-timeline---covid-19
2 See id.
3 https://bit.ly/3w0gJHS A Letter on the Continuation of the National Emergency

Concerning the Coronavirus Disease 2019 (COVID-19) Pandemic.
4 https://bit.ly/3lTzA2I Gubernatorial Disaster Proclamation, March 9, 2020.

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        18.       As a result of the COVID-19 pandemic, national emergency, and state

emergency, businesses that provided necessary parts to Plaintiff closed, specifically Bucher

Hydraulics for the period of March 21 to April 7, 2020.

        19.       The closure of those businesses resulted in the necessary suspension of

Plaintiff’s operations.

        20.       This caused “direct physical loss of or damage to” Plaintiff and Plaintiff’s

property as covered by the applicable policy.



                  DEFENDANT’S FURTHER DENIAL OF COVERAGE

        21.       In a separate and distinct claim, Plaintiff presented to Defendant for damages

to a planter bar caused when it slipped off a semi-trailer while being loaded at the Plaintiff’s

facility. This incident caused damage to a customer’s planter (hereinafter the “planter bar

damage”).

        22.       Defendant denied coverage for the property damage that caused by Plaintiff’s

alleged negligence to a customer’s planter without a reasonable basis.

        23.       Defendant also denied coverage for a fourth matter involving the damage to a

customer’s land and crops caused by an alleged design or manufacturing defect of a planter

(hereinafter the “property and crop damage”).

        24.       Plaintiff presented the claim for property damage to Defendant, but defendant

denied coverage although Plaintiff believes that the applicable policy would cover such a

claim if valid.


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               DECLARATORY JUDGMENT IS APPROPRIATE RELIEF

       25.      Four disputes exist between the Plaintiff and Defendant herein on the

application of the applicable policy definitions and the rights and duties of the parties under

the applicable policy as laid out herein.

       26.      These controversies cannot be determined except in this proceeding.

       27.      These controversies are proper for determination by declaratory judgment to

adjudicate the issues of whether the applicable policy affords coverage of the controversies

and a duty by Defendant to defend/cover the Plaintiff.

       28.      The questions of whether Harvest International, Inc. is entitled to insurance

coverage and a legal defense under the controlling insurance policies, whether Harvest

International, Inc. is entitled to coverage for Business Income Loss, and whether Harvest

International, Inc. is entitled to coverage for property damage claims are appropriate for

declaratory relief pursuant to IRCP 1.1101 and the granting of such relief would terminate

the legal disputes that have given rise to the issues.

       29.      “[T]he purpose of the declaratory judgment is to resolve uncertainties and

controversies before obligations are repudiated, rights are invaded, or wrongs are

committed.” Dubuque Policemen’s Protective Ass’n v. City of Dubuque, 552 N.W.2d 603, 607 (Iowa

1996) (quoting 22A Am.Jur.2d Declaratory Judgments § 1, at 670).

       30.      To determine whether declaratory judgment is proper, Iowa courts first

determine whether a justiciable controversy exists. Green v. Shama, 217 N.W.2d 547, 551

(Iowa 1974).


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       31.      Here, Harvest International, Inc. seeks a declaratory judgment on the issues

outlined in Paragraph 29 and stated herein.

       32.      A declaratory judgment would resolve whether Harvest International, Inc. is

entitled to coverage and a defense under the policies of insurance identified and maintained

with the Defendant for the issues set forth herein.



  COUNT I – DECLARATORY JUDGMENT – DUTY TO DEFEND AGAINST
               PERSONAL AND ADVERTISING INJURY
                 (As to Federal Claims Pending Against Plaintiff)

       33.      Plaintiff reincorporates and restates all allegations of its Petition as if fully set

forth herein.

       34.      The Plaintiff hereby requests the Court enter a declaratory judgment on

whether or not insurance coverage exists for the Plaintiff for the damages alleged in the

Federal Petition.

       35.      The alleged damages claimed arise out of Harvest International making

and/or selling products allegedly without compliance to a licensing agreement and allegedly

marketing and representing to customers that the UltraPlant toolbar is a Milford Friesen

toolbar.

       36.      The plaintiffs in the federal action brought a claim for trade secrets against

Plaintiff Harvest International, Inc. These claims are the subject of a Motion to Dismiss that

has been filed by Harvest in the Federal action.

       37.      Commercial General Liability Coverage Form, Section V(18) regarding


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personal and advertising injury means “personal injury” or “advertising injury” and pursuant

to Commercial General Liability, Section V(19) “personal injury” is defined as follows:




Emphasis added.

       38.    Pursuant to Commercial General Liability, Section V(2), “advertising injury” is

defined as follows:



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Emphasis added.

        39.   Additionally, Travelers has a duty to defend and provide coverage to Harvest

International, as described in Coverage B(1)(a) in the Commercial General Liability Coverage

Form:




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       40.     Moreover, the federal lawsuit is in part for personal or advertising injury, as

defined by the policy.

       41.     Friesens’ allegations against Harvest International, Inc. include claims of

misappropriation of a person’s name and infringement of a slogan in conjunction with the

marketing and advertising of the UltraPlant toolbar.

       42.     The alleged publication orally and written was sufficient for the Friesens in the

federal action to perceive themselves as being entitled to damage for the alleged statements

by Harvest International, Inc.

       43.     Publication is not a defined term in the insurance policy and any ambiguity in

the policy must be interpreted in favor of the insured. United Fire and Cas. Co. V. Victoria,

576 N.W.2d 118, 121 (Iowa 1998).

       44.     It is no defense for the carrier to allege audience size because the word

publication is not defined within the applicable policy and could merely be a communication

to a third party just the same as the word is used in defamation cases. See Kiner v. Reliance Ins.

Co., 463 N.W.2d 9 (Iowa 1990) (discussing publication to a single person); See Newell v. JDS

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Holdings, L.L.C., 834 N.W.2d 463, 470 (Iowa Ct. App. 2013) (defining publication as

communication of statements to one or more third parties).

       45.     The allegations by the Friesens are sufficient basis of publication of oral or

written statements which would be covered under the applicable policy purchased by

Plaintiff from the Defendant.

       46.     Travelers seeks to exclude coverage merely because there are allegations

within the federal petition filed by Milford Friesen and Arlyn Friesen alleging violation of

intellectual property rights. While there is an exclusion in the policy for intellectual property

rights the name Milford Friesen in and of itself as alleged in the federal petition does not

invoke intellectual property rights but rather advertising injury and personal injury claims

falling within the definitions of the policy coverage.

       47.     Because the alleged conduct creating damages falls within both of the

definitions of intellectual property and of personal and advertising injury, Harvest

International is entitled to coverage and a defense by Travelers.

       48.     The allegations of noncompliance with the licensing agreement causing

damages said potential damages are covered under the personal injury provisions of the

applicable policy. The definition of personal injury includes the types of damages alleged in

the Petition by Milford Friesen and Arlyn Friesen. Travelers cannot exclude coverage based

on an exclusionary clause that only generally applies rather than the coverage that specifically

applies for personal injury. Contracts must be read to cover losses that are specifically

contemplated, and there may not be grounds for use of general exclusionary language to


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exclude a specific covered cause of loss. Wells’ Dairy, Inc. v. Travelers Indem. Co., 336 F. Supp.

2d 906 (N.D. Iowa 2004), citing Employers Mut. Cas. Co. v. Cedar Rapids Television Co., 552

N.W.2d 639, 641 (Iowa 1996).

       49.     The underlying Friesen case included claims against Harvest International, Inc.

related to its advertising and marketing of its UltraPlant tool bar under 15 USC § 1125(a).

       50.     15 USC §1125(a)(1)(B) states that potential liability exists if defendant “in

commercial advertising or promotion, misrepresents the nature, characteristics, qualities, or

geographic origin of his or her or another person’s goods, services, or commercial activities.”

       51.     Friesen Friesen Inc. of Litchfield, Nebraska, of which Milford Friesen was an

owner, began manufacturing tool bars in 1983. The word, Friesen, gained notoriety within

the farming community, and Milford Friesen was recognized for innovations in the design of

tool bars.

       52.     Friesen Friesen Inc. was the first company to offer a 60’ width apparatus

which was far larger than anything else on the market at the time.

       53.     Friesen Friesen Inc. was the first company to offer a forward folding tool bar

design – an invention of Milford and Arlyn Friesen.

       54.     The name, Friesen, gained further recognition as it distributed its tool bars

through John Deere dealerships and, also, via a license arrangement with AGCO

Corporation.

       55.     Friesen Friesen Inc. continued to add innovations to its toolbar designs

offered to the agricultural community which gained further recognition of the word, Friesen.


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       56.    The innovative features of tool bars were known and attributed to the

inventorship of Milford Friesen which innovative features were recognized both within

agricultural community as well as before the United States Patent and Trademark Office

with the issuance of United States Patent No. 5,113,956 in 1992, United States Patent No.

6,206,105 in 2001, United States Patent No. 6,702,035 in 2004, and United States Patent No.

6,702,068 in 2009.

       57.    Over the years, “Friesen” acquired a reputation and became known as

synonymous with highly functional and durable tool bars within the agricultural community,

particularly in the Midwest. Friesen has functioned as a slogan having immediate and

attention obtaining recognition by farmers.

       58.    Milford Friesen’s recognition within the agricultural community was

associated with innovative and functional designs for tool bars.

       59.    Historically, “Friesen” had been used on or associated with tool bars

manufactured by Harvest International, Inc. as a part of the advertising and marketing of

said equipment.

       60.    The claim by Milford and Arlyn Friesen brought against Harvest International,

Inc. is premised upon the historic involvement of the Friesens in the technological

development and advancement of tool bar designs which was well recognized within the

agricultural community.

       61.    The Friesens’ claim asserts that Harvest International, Inc., without

authorization, utilized Friesen, and in particular, Milford Friesen, in the advertising and


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marketing of the Ultraplant tool bar for the purpose of benefiting from the recognition of

Friesen as being associated with innovative, functional, and durable tool bar designs, and

Milford Friesen specifically as the chief architect of said innovations.

          62.   The promotional activity of Harvest International, Inc. related to Friesen and

Milford Friesen may be in the form of placement of the Friesen name on actual product as

well as via promotional literature and oral communications by Harvest International, Inc.

          63.   While Harvest International, Inc. denies such misappropriation and use of

Friesen or Milford Friesen, the fact remains that Friesens’ Petition asserts that Harvest

International, Inc. used the word, Friesen, and the name, Milford Friesen, in its promotion,

advertising and marketing of the Ultraplant tool bar for the purpose of gaining a commercial

benefit associated with the attention and recognition of the agricultural community in

Friesen and Milford Friesen.

          64.   Additionally, the Friesens claim Harvest International converted tangible

drawings or designs for an improper use. This claim is clearly covered by the applicable

policy.

          65.   Section V(23), “Property damage” is defined as follows:




          66.   The alleged conversion of drawings/designs constitutes property damage as

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defined by the policy and therefore Travelers has an obligation to provide coverage and a

defense to the claims.

       67.      Moreover, Travelers has a duty to defend and provide coverage to the Plaintiff

under Coverage A(1)(a) in the Commercial General Liability Coverage Form for the

following reasons:




       68.      A contract liability exclusion does not apply to the conversion claim. Section

I(2)(b) states that the contract liability exclusion does not apply to “liability for damages that

the insured would have in the absence of the contract or agreement.”

       69.      The alleged liability for conversion, would lie in common law regardless of any

contract that Harvest International may have entered into with Milford Friesen or Arlyn

Friesen.

       70.      Accordingly, the policy must cover the alleged loss and provide a defense of

those claims.

       WHEREFORE, Plaintiff respectfully requests the Court enter an Order directing



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the Defendant to provide the legal defense of those claims to the natural conclusion of the

action commenced in federal court by Milford Friesen and Arlyn Friesen and for such other

and further relief as this Court deems just and necessary in the premises.



   COUNT II – DECLARATORY JUDGMENT - BUSINESS INTERRUPTION

       71.      Plaintiff reincorporates and restates all allegations of its Petition as if fully set

forth herein.

       72.      Plaintiff claims damages that are covered under the business income coverage

provided in the insurance policy Plaintiff purchased and paid premiums on. Plaintiff’s policy

specifically covers loss of business income and states:




       73.      Plaintiff’s policy further covers loss of business income in the Deluxe Business

Income (and Extra Expense) Coverage Form.




       74.      Defendant represented to Plaintiff prior to Plaintiff entering into the policy

agreement that the Policy would cover business income due to all business interruptions,

including but not limited to business interruption due to a supply chain interruption and



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supply and parts shortage as is the case here.

       75.      Plaintiff suspended its operations due to a supply chain interruption and

supply and parts shortage.

       76.       Plaintiff, based on Defendant’s prior representations, believed that loss of

business income due to supply chain interruption and parts and supply shortages were

covered under the policy.

       77.      Plaintiff filed a claim for loss of business income with Defendant.

       78.      Defendant denied coverage under the policy.

       WHEREFORE, Plaintiff respectfully requests the Court enter an Order directing

the Defendant to cover Plaintiff’s claim for business interruption caused as a result of direct

physical loss or damage and for other such relief as the Court deems just and equitable in the

premises and for such other and further relief as this Court deems just and necessary in the

premises.



      COUNT III – DECLARATORY JUDGMENT - PROPERTY DAMAGE
                     (As to the Alleged Planter Bar Damage)

       79.      Plaintiff reincorporates and restates all allegations of its Petition as if fully set

forth herein.

       80.      Plaintiff’s policy specifically covers Personal Property in Transit Outside

under Deluxe Property Coverage Form (4)(r), which states:




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       81.       “Business Personal Property” is defined in Section A.1.b. to include “stock,”

which is defined in Section J.13.




       82.       The policy covers Plaintiff’s claims, particularly as the policy contains the

above cited language.

       83.       Defend denied Plaintiff coverage for its claim under the above quoted section

of the policy.

       WHEREFORE, Plaintiff respectfully requests the Court enter an Order directing

the Defendant to defend Plaintiff against claims asserted against it for the alleged damage to

the planter bar damage and for such other and further relief as this Court deems just and


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necessary in the premises.



      COUNT IV – DECLARATORY JUDGMENT - PROPERTY DAMAGE
                   (As to the Alleged Property and Crop Damage)

       84.      Plaintiff reincorporates and restates all allegations of its Petition as if fully set

forth herein.

       85.      Further, Deluxe Property Coverage Form, Section G.4.i.:




       86.      Deluxe Property Coverage Form, Section G.4.j. states:




       87.      Section G.4.a. sets forth the payments for loss as follows:




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        88.     Pursuant to the policy, specifically the parts identified above, the policy covers

Plaintiff’s claims.

        89.     Defendant denied Plaintiff coverage for its claim under the above quoted

section of the policy.

        WHEREFORE, Plaintiff respectfully requests the Court enter an Order directing

the Defendant to defend Plaintiff against claims arising from the alleged property and crop

damage and for such other and further relief as this Court deems just and necessary in the

premises.



                              COUNT V - DUTY TO DEFEND

        90.     Plaintiff reincorporates and restates all allegations of its Petition as if fully set

forth herein.

        91.     An insurers duty to defend is broader than the insurers duty to indemnify due

to the equitable principle that it would be impossible to determine what basis the Plaintiff

might recover under until the action is completely adjudicated. Emp'rs Mut. Cas. Co. v. Cedar

Rapids TV Co., 552 N.W.2d 639, 642 (Iowa 1996).

        92.     The duty to defend arises by a carrier when there is a potential or possible

liability for the insured. Id. The insurer must look at the facts pled in the Petition by a

Plaintiff against an insured but may not rely upon legal theories pled in a complaint to


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determine whether there is potential coverage. The facts are determinative of whether or

not coverage and duty to defend is required under the applicable policy. See Id. Insurance

coverage is determined by the type of conduct an insured engages in rather than the

Plaintiffs’ choice of legal theories for recovery.      See Id. Accordingly, the facts and

circumstances of the Milford Friesen and Arlyn Friesen claims against Harvest International,

Inc. are sufficient to afford Harvest International coverage of the claims under the applicable

policy and a defense in the action.

       WHEREFORE, Plaintiff respectfully requests the Court enter an Order directing

the Defendant to:

       A.     Provide the legal defense of those claims to the natural conclusion of the

              action commenced in federal court by Milford Friesen and Arlyn Friesen;

       B.     Cover Plaintiff’s claim for business interruption caused as a result of direct

              physical loss or damage and for other such relief as the Court deems just and

              equitable in the premises;

       C.     Defend Plaintiff against claims asserted against it for alleged planter bar

              damage;

       D.     Defend Plaintiff against claims asserted against it for alleged property and crop

              damage; and

       E.     For such other and further relief as this Court deems just and necessary in the

premises.




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                         COUNT VI – BREACH OF CONTRACT
                           (As to Doctrine of Reasonable Expectations)

       93.      Plaintiff reincorporates and restates all allegations of its Petition as if fully set

forth herein.

       94.      Plaintiff was justified in believing Defendant would defend it against claims

brought against it in court because Defendant had:

                a.     Represented to Plaintiff that claims for interruption to Plaintiff’s

       business would be covered, including but not limited to interruptions to Plaintiff’s

       business due to supply chain issues or parts or supply shortages.

                b.     Represented to Plaintiff that Defendant would defend it from any and

       all claims brought against it, whether filed (i.e., the Friesen action described in Count I)

       or merely demanded (i.e., the property damage issues described in Counts III and

       IV);

                c.     Accepted Plaintiff’s application;

                d.     Delivered the policy to Plaintiff;

                e.     Directly billed Plaintiff for policy premiums;

                f.     Collected premiums directly from Plaintiff for the policy; and

                g.     Accepted notice of all prior claims against the policy.

       95.      Defendant never expressly advised Plaintiff that it would not defend Plaintiff

against lawsuits, claims or demands against it, and to claim otherwise is an attempt to



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enforce the policy in a way which would defeat Plaintiff’s reasonable expectations under the

policy.

          96.    Paragraph (B)(1)(a) of the policy issued by the Defendant.

          97.    Said ambiguity must be resolved in accordance with the objectively reasonable

expectations of Plaintiff.

          WHEREFORE, Plaintiff asks this court to hold that the policy requires Defendant

to defend it against suits and claims brought against it, and for such further and other

remedies this Court deems just and necessary under the premises.



                 COUNT VII – BREACH OF CONTRACT GENERALLY

          98.    Plaintiff reincorporates and restates all allegations of its Petition as if fully set

forth herein.

          99.    Defendant entered into a written agreement with Plaintiff.

          100.   All the conditions precedent have been performed by Plaintiff.

          101.   Defendant has not performed the agreement on its part in that Defendant has

failed and refuses to defendant Plaintiff against claims against it asserted in the federal

petition.

          102.   On December 28, 2020, Plaintiff demanded of Defendant that it defend

Plaintiff against the claims asserted against it by for alleged planter bar damage and alleged

property and crop damage, but Defendant refused and still refuses to do so.




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        103.    On January 5, 2021, Plaintiff demanded of Defendant that it proved Plaintiff

coverage for loss experienced due to its business interruption, but Defendant refused and

still refuses to do so.

        104.    As such, Defendant breached the written agreement.

        105.    As a result of this breach of the agreement by Defendant, Plaintiff suffered

and continues to suffer damages.

        WHEREFORE, Plaintiff requests this Court require Defendant to cover Plaintiff’s

losses, defend Plaintiff against the claims asserted against it, provide Plaintiff coverage as laid

out in the applicable policy, and for such other and further relief as the Court deems just and

necessary in the premises.



                                 COUNT VIII – BAD FAITH

        106.    Plaintiff reincorporates and restates all allegations of its Petition as if fully set

forth herein.

        107.    Defendant knew or had reason to know that its refusal to defend Plaintiff

from the claims against it was without reasonable basis.

        108.    Plaintiff has suffered damages as a result of Defendant’s bad faith acts

including, but not limited to, monetary damages.

        109.    Plaintiff seeks an award of punitive damages pursuant to Iowa Code § 668A

based on Defendant’s willful and wanton disregard for the rights of Plaintiff.




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       WHEREFORE, Plaintiff respectfully requests this Court find Defendant acted in

bad faith in failing to provide coverage to Plaintiff as laid out in the applicable policy, require

Defendant to provide Plaintiff coverage as laid out in the applicable policy, for punitive

damages as allowed by statute, and for such other and further relief as this Court deems just

and necessary in the premises.



                                             Respectfully submitted,


                                             /s/ Glenn Johnson
                                             Glenn Johnson (AT0003856)
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                                             ATTORNEY FOR HARVEST
                                             INTERNATIONAL, INC.




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                                  Certificate of Service

        The undersigned certifies that on May 26, 2021, I filed the foregoing with the Clerk
of Court using the ECF system which will send notification of such filing to all counsel of
record.


       Brenda K. Wallrichs
       118 Third Avenue SE, Suite 700
       PO Box 1927
       Cedar Rapids, Iowa 52406-1927


                                           By: /s/Glenn Johnson




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